      Case 5:12-cv-04759-PSG             Document 80-1     Filed 05/14/14    Page 1 of 151




1    Mark Eisen (SBN – 289009)
     meisen@edelson.com
2    EDELSON PC
     555 West Fifth Street, 31st Floor
3    Los Angeles, California 90013
     Tel: 213.533.4100
4    Fax: 213.947.4251
5    Rafey S. Balabanian (Admitted Pro Hac Vice)
     rbalabanian@edelson.com
6    Benjamin H. Richman (Admitted Pro Hac Vice)
     brichman@edelson.com
7    Christopher L. Dore (Admitted Pro Hac Vice)
     cdore@edelson.com
8    EDELSON PC
     350 North LaSalle Street, Suite 1300
9    Chicago, Illinois 60654
     Tel: 312.589.6370
10   Fax: 312.589.6378
11   Attorneys for Plaintiff and the Putative Class
12                                 UNITED STATES DISTRICT COURT
13                                NORTHERN DISTRICT OF CALIFORNIA
14    DAVID TRINDADE, individually and on                Case No. 5:12-cv-04759 (PSG)
      behalf of all others similarly situated,
15                                                       DECLARATION OF BENJAMIN H.
                     Plaintiff,                          RICHMAN IN SUPPORT OF MOTION
16                                                       FOR ENTRY OF DEFAULT JUDGMENT
      v.
17                                                       Judge: Honorable Paul Singh Grewal
      REACH MEDIA GROUP, LLC, a Delaware                 Action Filed: September 12, 2012
18    limited liability company,
19                   Defendant.
20
      REACH MEDIA GROUP, LLC, a Delaware
21    limited liability company,
22                   Third-Party Plaintiff,
23    v.
24    RYAN LENAHAN, individually, KYLE
      DANNA, individually, and EAGLE WEB
25    ASSETS INC., an Illinois corporation,
26                   Third-Party Defendants.
27

28
     DECLARATION OF                                                   CASE NO. 5:12-CV-04759 (PSG)
     BENJAMIN H. RICHMAN
      Case 5:12-cv-04759-PSG             Document 80-1          Filed 05/14/14       Page 2 of 151




1    Pursuant to 28 U.S.C. § 1746, I hereby declare and state as follows:

2             1.       I am over the age of eighteen and am fully competent to make this declaration. I

3    make this declaration based upon personal knowledge unless otherwise indicated. If called upon to

4    testify to the matters stated herein, I could and would do so competently.

5             2.       I am a partner at the law firm of Edelson PC, which has been retained to represent

6    the named Plaintiff in this matter, David Trindade.

7             3.       Shortly after the filing of Defendant Reach Media Group, LLC’s (“RMG”) Answer

8    and Cross-Complaint, Trindade served his first set of written discovery requests to RMG, including

9    interrogatories, requests for production, and requests for admission. 	  

10            4.       RMG ultimately provided written responses to Trindade’s written discovery

11   requests, but did not produce responsive documents.	  

12            5.       In early 2013, I, along with my colleagues Rafey S. Balabanian and Christopher L.

13   Dore, also of Edelson PC, began discussions (via telephone and e-mail correspondence) with then

14   counsel of record for RMG, Albert E. Hartmann and Vishali Singal of DLA Piper LLP, regarding

15   the potential for an early resolution of the case. Unfortunately, after several months of back and

16   forth, communications between the Parties ceased. 	  

17            6.       Thereafter, RMG’s attorneys withdrew as counsel of record and since then, RMG

18   has not produced any additional information or documents in response to Trindade’s discovery

19   requests, nor has it indicated that it intends to retain new counsel or defend itself in this matter. 	  

20            7.       Attached hereto as Exhibit 1-A is a true and accurate copy of Defendant Reach

21   Media Group, LLC’s Objections and Responses to Plaintiff David Trindade’s First Set of

22   Interrogatories.	  

23            8.       Attached hereto as Exhibit 1-B is a true and accurate copy of Defendant Reach

24   Media Group, LLC’s Objections and Responses to Plaintiff David Trindade’s First Set of Requests

25   for the Production of Documents.	  

26            9.       Attached hereto as Exhibit 1-C is a true and accurate copy of Defendant Reach

27

28
     DECLARATION OF                                  1                        CASE NO. 5:12-CV-04759 (PSG)
     BENJAMIN H. RICHMAN
      Case 5:12-cv-04759-PSG           Document 80-1         Filed 05/14/14      Page 3 of 151




1    Media Group, LLC’s Objections and Responses to Plaintiff David Trindade’s First Set of Requests

2    to Admit Facts.	  

3                                *                      *                       *
4            I declare under penalty of perjury that the foregoing is true and correct.
5    Executed this 14th day of May 2014 at Chicago, Illinois.
6                                                  /s/ Benjamin H. Richman
                                                   Benjamin H. Richman
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     DECLARATION OF                                2                      CASE NO. 5:12-CV-04759 (PSG)
     BENJAMIN H. RICHMAN
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 4 of 151




    Exhibit 1-A
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 5 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 6 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 7 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 8 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 9 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 10 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 11 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 12 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 13 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 14 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 15 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 16 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 17 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 18 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 19 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 20 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 21 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 22 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 23 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 24 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 25 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 26 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 27 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 28 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 29 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 30 of 151




     Exhibit 1-B
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 31 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 32 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 33 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 34 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 35 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 36 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 37 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 38 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 39 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 40 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 41 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 42 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 43 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 44 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 45 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 46 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 47 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 48 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 49 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 50 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 51 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 52 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 53 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 54 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 55 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 56 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 57 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 58 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 59 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 60 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 61 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 62 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 63 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 64 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 65 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 66 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 67 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 68 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 69 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 70 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 71 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 72 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 73 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 74 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 75 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 76 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 77 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 78 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 79 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 80 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 81 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 82 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 83 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 84 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 85 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 86 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 87 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 88 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 89 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 90 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 91 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 92 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 93 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 94 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 95 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 96 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 97 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 98 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 99 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 100 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 101 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 102 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 103 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 104 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 105 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 106 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 107 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 108 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 109 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 110 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 111 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 112 of 151




      Exhibit 1-C
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 113 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 114 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 115 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 116 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 117 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 118 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 119 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 120 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 121 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 122 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 123 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 124 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 125 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 126 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 127 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 128 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 129 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 130 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 131 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 132 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 133 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 134 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 135 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 136 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 137 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 138 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 139 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 140 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 141 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 142 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 143 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 144 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 145 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 146 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 147 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 148 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 149 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 150 of 151
Case 5:12-cv-04759-PSG   Document 80-1   Filed 05/14/14   Page 151 of 151
